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			2017-10-30T10:04:28+00:00		
	
						
				
					
						


	
	
	
		
		
		

		
		 

		
		Welcome to the  Supreme Court of Georgia. 

		
		Our goal is to provide the bench, bar and general public with timely and accurate information about the Supreme Court and the administration of justice in Georgia.  
	
	
	
		
		
		

		
		 

		
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		Read about the Justices of the Supreme Court of Georgia. 
	
	
	
		
		
		

		
		 

		
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		View oral arguments from the current Court term. 
	
	
	
		
		
		

		
		 

		
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		Opinions are published an average of twice a month.  On Fridays at 2 p.m., we will provide on our website a list of  any opinions due to come out the following Monday. 
	
	
	
		
		
		

		
		 

		
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		Learn about the history of the Supreme Court of Georgia. 
	


	

		
		
				

					
				
					
						
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							Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
FAX: (404) 656-2253
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Rule 3.15 Form
																					
																										
							Oral Argument CalendarCurrent Monthfebruary 2018Oral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
				05feb10:00 am4:00 pmOral ArgumentsOral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
				06feb10:00 am1:00 pmOral ArgumentsOral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
				12feb10:00 am1:00 pmOral Argumentsmarch 2018Oral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
				05mar10:00 am4:00 pmOral ArgumentsView Full Calendar
																					
																										
											News and Reports		
											
					1/31/18 – JUDGE FLYTHE TO HEAR GEORGIA SUPREME COURT CASE
									
											
					1/31/18 – CHIEF JUDGE CHASON TO HEAR GEORGIA SUPREME COURT CASE
									
											
					1/31/18 – JUDGE LUMSDEN TO HEAR GEORGIA SUPREME COURT CASE
									
					
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